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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

MILLENNIUM IP, INC. and MILLENNIUM MEDIA, INC.,

       Plaintiffs,                                              Case No.: 1:19-cv-03608

v.                                                              Judge Charles R. Norgle, Sr.

THE PARTNERSHIPS AND UNINCORPORATED                             Magistrate Judge Sheila M. Finnegan
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                   DEFENDANT
                60                               SmartTech Security Store


DATED: August 5, 2019                               Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
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                                                    ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-03608 Document #: 32 Filed: 08/05/19 Page 2 of 2 PageID #:863




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 5, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
